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                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

 Anthony F McLin,
                                    Plaintiff,

 vs.                                                  Case Number: 17-CV-02656 DDC/KGS

 Experian Information Solutions Inc., Trans
 Union, LLC and Equifax Information
 Services, LLC,

                                    Defendants.


                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff and Defendants file this stipulation of dismissal under Federal Rule of Civil

Procedure 41(a)(1)(A)(ii) and this Court’s January 17, 2018 Order (Doc. 19).

       1.      Plaintiff is Anthony McLin; Defendants are Experian Information Solutions, Inc.,

Trans Union LLC and Equifax Information Services LLC.

       2.      This case was removed to federal court on November 16, 2017 (Doc. 1).

       3.      Plaintiff now moves to dismiss the lawsuit against Defendants.

       4.      Defendants agree to the dismissal.

       5.      This case is not a class action.

       6.      A receiver has not been appointed in this case.

       7.      Plaintiff’s bankruptcy case 15-20551 filed in the United States Bankruptcy Court

for the District of Kansas was dismissed on January 22, 2018 (Bky Doc. 126).

       8.      Therefore, this case is not governed by any federal statute that requires a court order

for dismissal of the case.

       9.      Plaintiff has not previously dismissed any federal- or state-court suit based on or
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including the same claims as those presented in this case.

       10.     This dismissal is with prejudice to refiling.

       11.     Each party is to bear its own fees and costs.

                                              Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing was filed on March 5, 2018, using the District
Court’s CM/ECF electronic filing system, which will send notice to all counsel of record.

                                                     /s/ A.J. Stecklein
                                                     A.J. Stecklein #16330
